 

Case 3:11-cV-02328-RPC-.]VW Document 11 Filed 07/10/12 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

DOUGLAS E. HUMPHREY,

 

Plaintiff
v. § civIL No. 3 cv-11-2328
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PENNSYLVANIA DEPARTMENT oF sTATE, : <Judge Conab@y) SCRANTON
Defendant § JUL lozgm
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Background

Douglas E. Humphrey, an inmate presently confined at the
Fayette State Correctional Institution, LaBelle, Pennsylvania (SCI-
Fayette), initiated this pro se civil rights action pursuant to 42
U.S.C. § 1983. Along with his Complaint, Plaintiff submitted a
request for leave to proceed in forma pauperis.

Named as sole Defendant in the Complaint is the Pennsylvania
Department of State. Plaintiff sought declaratory relief, as well
as compensatory and punitive damages on the basis that the
Defendant violated his constitutional rights by rejecting his 134
page filing because the information contained therein could not be
read or deciphered.

By Memorandum and Order dated December 21, 2011, Humphrey’s
action was dismissed without prejudice as legally frivolous
pursuant to the screening provisions of 28 U.S.C. § 1915.
Specifically it was concluded that under the standards announced in

Will v. Michigan Dep't of State Police, 491 U.S. 58 (1989),

 

 

Case 3:11-cV-02328-RPC-.]VW Document 11 Filed 07/10/12 Page 2 of 3

Howlett v. Rose, 496 U.S. 356, 365 (1990), Bolden v. Southeastern
Pennsvlvania Transp. Auth., 953 F.2d 807, 818 (3d Cir. 1991) and
other similar decisions, the Pennsylvania Department of State was
not a person for the purpose of § 1983 and entitled to immunity
under the Eleventh Amendment.

Following the dismissal of his action, Plaintiff filed a one
page letter vaguely indicating that the Defendant was not entitled
to immunity under the Eleventh Amendment because he doesn't think
that said provision was intended to protect states “who blatantly
violate the mandates of the U.S. Constitution.” Doc. 8, p. 1.
Given the liberal treatment afforded pro §§ litigants, Plaintiff’s
letter will be construed as seeking reconsideration of the
dismissal of his action

Discussion

A motion for reconsideration is a device of limited utility.
It may be used only to seek remediation of manifest errors of law
or fact or to present newly discovered precedent or evidence which,
if discovered previously, might have affected the court's decision.
Harsco Corp. v. Zlotnicki, 779 F.2d 906 (3d Cir. 1985), gert;
denied, 476 U.S. 1171 (1986).

lt has also been held that a motion for reconsideration is
appropriate in instances such as where the court has "
misunderstood a party, or has made a decision outside the
adversarial issues presented to the court by parties, or has made
an error not of reasoning, but of apprehension." _§§ Rohrbach v.
AT & T Nassau Metals Corp., 902 F. Supp. 523, 527 (M.D. Pa. 1995),

vacated in part on other grounds on reconsideration, 915 F. Supp.

 

 

Case 3:11-cV-02328-RPC-.]VW Document 11 Filed 07/10/12 Page 3 of 3

712 (M.D. Pa. 1996) (quoting Above the Belt, Inc. v. Mel Bohannan
Roofing, Inc., 99 F.R.D. 99, 101 (E.D. Va. 1983). "Because federal
courts have a strong interest in the finality of judgments, motions
for reconsideration should be granted sparingly." Continental
Casualtv Co. v. Diversified Indus., Inc., 884 F. Supp. 937, 943
(E.D. Pa. 1995).

Based upon the above stated factors and this Court’s review
of the Plaintiff 's reconsideration motion, it does not present any
facts or arguments which would undermine this Court’s prior
determination that Pennsylvania Department of State was not a
properly named Defendant. Plaintiff simply provides no basis to
depart from the determination that the sole Defendant was entitled
to Eleventh Amendment immunity. Since he reconsideration motion
fails to establish the presence of any errors of law or fact and
does not set forth any newly discovered evidence or precedent, it

will be denied. An appropriate Order will enter.

AND NOW, THEREFORE, THIS /C? DAY OF JULY, 2012, lT IS

HEREBY ORDERED THAT:

Plaintiff's motion for reconsideration (Doc. 8) is

DENIED.

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IEHAIYD“ P .' CoNABoY
nited States District Judge

 

